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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA,                         )
                                                  )
v.                                                )    2:20-cr-00175-2
                                                  )
BRANDON BENSON,                                   )
                                                  )
                         Defendant.               )



                       Hearing Type: Bond Revocation Hearing (In-Person)
                                      Date: July 19, 2021
                              Before: Chief Judge Mark R. Hornak




 AUSA                                    Shaun E. Sweeney

 Counsel for Defendant                   Linda E. J. Cohn

 Probation Officer                       Phil Spicuzza

 Court Reporter                          Barbara Loch

 Deputy Clerk/Law Clerk                  Brian D. Babik/Molly C. Prindle

 Start time                              1:38 PM

 End time                                4:31 PM

                                  SUMMARY OF PROCEEDINGS:


DEFENDANT PRESENT

WITNESS:
  1) Phil Spicuzza

The Court held this hearing regarding the pending Petition for Action on Pretrial Release (ECF Nos. 94
and 132).

Defendant shall remain on bond.

The Court will hold further proceedings in abeyance without prejudice.
